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        #             Date                           •
                                        Enrollment Fee            Monthly Service Fee           Total Payment
   49       Mar 27, 2023        $0.00                    $0.00                          $0.00
   50       Apr 27, 2023        $0,00                    $0.00                          $0.00
   51       May 30, 2023        $0,00                    $0.00                          $0.00
   52       Jun 27, 2023        $0.00                    $0.00                          $0.00
   53       Jul 27, 2023        $0,00                    $0.00                          $0.00
   54       Aug 28, 2023        $0,00                        ,
                                                         $0.00                          $0.00
   55       Sep 27, 2023        $0.00                    $0,00                          $0.00
   56       Oct 27, 2023        $0.00                    $0.00                          $0.00
   57       Nov 27, 2023        $0.00                    $0.00                          $0.00
   58       Dec 27, 2023        $0.00                    $0.00                          $0.00
   59       Jan 29, 2024        $0.00                    $0.00                          $0.00
   60       Feb 27. 2024        $0.00                    $0.00                          $0.00
   61       Mar 27, 2024  ...   $0.00                    $0.00                          $0.00
   62       Apr 29, 2024        $0 00                    $0.00                          $0.00
   63              • •
            May 28, 2024        $0.00                    $0.00                          $0.00
   64       Jun 27, 2024        $0.00                    $0.00                          $0.00
   65       Jul29, 2024         $0.00                    $0.00                          $0.00
   66       Aug 27, 2024        $0.00                    $0.00                          $0,00
   67                 •
            Sep 27, 2024        $0.00                    $0.00                          $0.00
   68       Oct 28, 2024        $0.00                    $0.00                           ,.
                                                                                        $0 00
   69
   70
            Nov 27, 2024
            Dec 27. 2024
                                $0.00
                                $0.00
                                                         .
                                                         $0.00
                                                         •$0.00
                                                                                        $0.00
                                                                                        $0.00
   71       Jan 27, 2025        $0.00                    $0.00                          $0.00
   72       Feb ◄27, 2025       $0.00                    $0.00                          $0.00
   73       Mar 27, 2025        $0.00                    $0.00                          $0.00
   74       Apr28, 2025         $0 00                    $0.00                          $0.00
   75       May 27, 2025        $0.00                    $0.00                          $0.00
   76       Jun 27, 2025        $0.00                    $0.00                          $0.00
   77       Jul28, 2025         $0.00                    $0.00                          $0.00
   78       Aug 27, 2025        $0.00                    $0.00                          $0.00
   79            ., 2025
            Sep 29.             $0.00                    $0.00                          $0.00
   80       Oct 27. 2025        $0.00                    $0.00                          $0.00
  81        Nov 28, 2025        $0.00                    $0.00                          $0.00
   82       Dec 29, 2025        $0.00                    $0,00                          $0.00
  83        Jan 27, 2026        $0.00                    $0.00                          $0.00
  84        Feb 27, 2026        $0.00                    $0.00                          $0.00
  85        Mar 27, 2026        $0.00                    $0.00                          $0.00
   •
  86        Apr 27, 2026        $0.00                    $0.00                          $0.00
  87        May 27, 2026        $0,00                    $0.00                          $0.00
  88        Jun 29. 2026        $0.00                    $0.00                          $0.00
  89        Jul   27, 2026      $0.00                    $0.00                          $0.00
  90        Aug 27, 2026        $0.00                    $0.00                          $0.00
  91        Sep 28, 2026        $0.00                    $0.00                          $0.00
  92
  93
            Oct 27, 2026
            Nov 27, 2026
                                $0.00
                                $0.00
                                                         $0.00
                                                         $0.00                            -.
                                                                                        $0.00
                                                                                        $0.00
  94        Dec 28, 2026        $0,00                    $0.00                          $0.00
  95        Jan 27, 2027        $0.00                    $0.00                          $0.00




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      #              Date             Enrollment Fee           Monthly Service Fee             Total Payment
               ...
                                                       . ...
   96     Mar 01, 2027      $0.00                      $0.00                         $0.00
   97     Mar 29, 2027      $0.00                      $0.00                         $0.00
   98     Apr27, 2027       $0.00                      $0.00                         $0.00
   99     May 27, 2027      $0.00                      $0.00                         $0.00


                                  .
    100   Jun 28, 2027      $0.00                      $0.00                         $0.00
    101   Jul 27, 2027        .
                            $0 00                      $0.00                         $0.00
    102   Aug 27, 2027      $0.00                      $0.00                         $0.00
    103   Sep 27, 2027      $0.00
                                Cl,                    $0.00                         $0.00
    104   Oct 27, 2027      $0.00                      $0.00                         $0.00
    105              •
          Nov 29, 2027      $0.00                      $0.00                            ....
                                                                                     $0.00
    106   � 27, 2027
          Dec               $0.00                      $0.00                         $0.00
                                                                                     ,C


    107   Jan 27, 2028      $0.00                      $0.00                         $0,00


          ..
    108   Feb 28, 2028      $0.00                      $0,00
                                                       ;, ..                         $0.00
    109   Mar 27, 2028       ,
                            $0.00                      $0.00                         $0,00
    110   Apr27, 2028       $0.00                      $0,00                         $0,00
    111   May 30, 2028      $0.00                      $0.00                         $0,00
    112   Jun 27, 2028      $0.00                      $0,00                         $0,00
    113   Jul 27, 2028      $0.00                      $0.00                         $0.00
    114   Aug 28, 2028      $0.00                      $0,00                         $0.00


                .
   115    Sep 27, 2028      $0.00                      $0.00                         $0.00
    116       � 2028
          Oct 27,           $0.00                      $0,00                         $0.00
    117   Nov 27, 2028      $0.00                      $0,00                           ••
                                                                                     $0.00
    118   Dec 27, 2028      $0.00                      $0,00                         $0.00
    119   Jan 29, 2029      $0.00                      $0.00                         $0.00
    120   Feb 27, 2029      $0.00                      $0.00                         $0.00




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                                                                                                                                              Initials:




  Client may revoke any prior payment authorization at any time before such payment has been initiated by completing and submitting a
                                                                                          •
                                                                                                                                      -
  Revocation of Recurring Payment Authorization form to PAN by email or mail. See PAN's Contact   Information below.

  PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any
                                                                                                                           •
  reason, PAN shall arrange for Client's remaining funds, apart from any funds due to be paid to the Service Provider or any other person or
                                                                                        i
  entity as a result of the occurrence ol specified events prior to delivery of the term nation notice, to be transmitted from the Custodial
            •
  Account to the Designated Account.

  Client agrees that all disclosures, account activity, notifications and any other communications related to the Services may be distributed

                                                                                                         -
  to Client by electronic mail or through PAN's software services. Client acknowledges that Client is able to electronically receive, download
  and print such information and communications. If Client is unable to communicate electronically tor any reason, Client agrees to notify


                                                              ..
  PAN immediately, and reasonable alternative means of communication will be established in accordance with applicable law.

  Client understands and agrees that all calls to and from PAN are monitored and recorded. Client verifies lhat1he telephone and cellular
  phone numbers and email addresses shown below presently belong to Client. Client consents to receive emails, prerecorded messages
  and/or autod,aled calls (including text messages) relating to this Agreement and the Services. These communications may be made by PAN
         ,
  or tts agents, even if your phone number is registered on any state or federal "Do Not Call" Hst. You may incur a charge for such calls by
  your telephone carrier. PAN may obtain and contact emall addresses and phone numbers provided by you directly or obtained through other
  lawful means. Your consent to this provision is not required as a condition of entering into thfs Agreement, and you may opt out from
             •                                                                            • below.
                                                                                                                                          -
  consenting to these provisions by contacting PAN in writing at PAN's Contact Information

  You agree to provide notice within 30 days of any change to your email address or phone numbers by writ ng to PAN's Contact Information
  below.

  ARBITRATION OF DISPUTES - IMPORTANT NOTICE AFFECTING YOUR RIGHTS
  You agree that any controversy, claim or dispute between the parties arising out of or relating to thls Agreement, or to any of the services
                                                                                                                •
  provided pursuant to this Agreement, or the breach, termination, enforcement, interpretation or validfly thereof,   including the determination
                                                                                                         • conducted In !he federal judicial district
  of the scope or applicability of this Agreement to arbitrate, shall be determined by binding arbitration
  where the Client resides. The parties agree that this arbitration provision shall be governed by and enforceable under ihe Federal Arbitration
  Act. Otherwise, parties agree that the laws of the Client's state of residence shall govern any dispute between them. The parties agree the
  arbitration shall be conducted before a stngle arbitrator pursuant to the rules and procedures of the American Arbitratfon Association ("AAA").
  The arbitrator shall be neutra and independent and shall comply with the AAA code of ethics. Any award rendered by the arbitrator shall be
  final and shall not be subject to vacation or modification. Judgment on the award made by the arbitrator may be entered in any court having
  jurisdiction over the parties. The parties agree that ell her party may bring claims against the other only in his/her or its individual capacity

                                                                                                                                              ..
                                                                                                                                               ,a

  and not as a plaintiff or class member in any purported class or representative proceeding. Further, the parties agree that the arbitrator may
  not consolidate proceedings of more than one person's claims, and may not otherwise preside over any form of representative or class
  proceeding. The parties shall share the costs of the arbitration, not including attorney's fees or expert witness expenses, equally. If the
  consumer's share of the costs is greater than two-thousand dollars ($2,000.00), PAN will pay the consumer's share of any costs in excess
  of that amount. In the event that a party fails to proceed with arbitration, unsuccessfully challenges the arbitrator's award, or fails to
  comply with the arbitrator's award, the other party shall be entitled to obtain costs ot suit, lncluding any reasonable attorney's fees incurred
                                   •
  for having to compel arbitration or defend or enforce the award Binding Arbitration means that both parties give up the right to a trfal by a
  jury. It also means that both parties give up the right to appeal from the arbitrators ruling, except for a narrow range of issues that can or
  may be appealed. It also means that discovery may be severely limited by the arbitrator. This section and the requirement to arbitrate shall
  survive any termination of this Agreement.

  This Agreement constitutes the entire agreement between Client and PAN. No modifications, variations or waivers ot any provisions of this
  Agreement shall be deemed valid unless in wr ting and signed by Client and PAN.




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           •
        Sincerely,

        Robert Marquez
        Arete Financial
        Customer Service Department




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                          • your vulnerability (Not fully understanding). What you don't know can hurt you in the long run
                advantage of

                financially.




        Thanks to the Better Business Bureau, you can now see consumer reviews of each Federal Approved loan servicers.




        It is always good to do your research. Click on the link below of your current loan servicer and see what others had
        to say.




        Arete is a BBB A Rated Company ......WE CARE ABOUT YOUR SITUATION




        Beware of Navient-www.bbb.org/delawa re/bu sine ss-revi ews/loansLnavient-in-wilmi ngton-de-92002017/reviews­
        and-comgl aints




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        Beware of Nelnet- www.bbb.orgLnebraska/.bus1ness-reviews/.scholarsh1Qs-and-f1nanc1al-a1df.nelnet national
        educational-loan-network-i n-lincoln-ne-209000034freviews-and-comp1a1nts




        Beware of Great Lakes- www.bbb.org/wisconsin/business-reviewslconsumer- finance-and-loan-comgan iesL.g�
        lakes-higher-ed ucation-coq2oration-in-mad ,son-wi-1200021 9/.reviews and-complai nts




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         Beware of FedLoan Servicing- www bbb.org[wash1ngton-dc-eastern-pa/bus1ness-reviews/jJovernment-us/fedloan­
         serv1cing-1n-harnsburg - pa- 202729473/reviews-and-complaints




         Update on Navient 2017- h!!.o..;/./.usat.lyl2kOvCUv




         Processing Department

         Toll Free 1 .(888) 331 -5827
         Fax I .(888) 366-2219



         Hours of Operation: 8AM-6PM Pacific Standard Time
         i.n!Q@.aretefinanc1alfreedom.com
         www.aretefinancialfreedom com




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        consolidation and its current loan balances (including accrued interest, fees,
        or collection costs). If you currently are required to make payments on your
        loan(s), continue to do so. You will need to continue making payments until
        you receive written notification that your loan(s) has been successfully
        consolidated and it is time to start paying your Direct Consolidation Loan.

        Step 3. Loan Statement: After your loan holder(s) certifies the "payoff"
        balance(s), we will send you a letter and loan statement listing the loan(s)
        being consolidated. You have 15 days to review this information for accuracy
        and to make adjustments.

        Step 4. Account Set-Up: We forward payoff information to your federal loan
        servicer once your loan(s} is successfully consolidated. Your federal loan
        servicer sends you a "Welcome" letter and information about repayment.

        This multi-step process generally takes 60-90 days before the information is
        sent to the federal loan servicer. You will receive a bill within 60 days of your
        federal loan servicer receiving your account information.
        We sincerely appreciate your business, and welcome your feedback!

        Processing Department

        Direct I f888)331-5827

        Fax I !888)366-22 19

         Hours of Operation: 9AM-5PM Pacific Standard Time
        infor@a retefi nancin I freedom.com


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         THIS E MAIL MAY CONTAIN NON PUBLIC, CONFIDENT AL INFORMArlON, PRIVILEGED OR OTHERWISE LEGALLY PROTECTED FROM UNAUTHORIZED
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        DISCLOSURE IF YOU ARE NOT THE INTENDED RECIPIENT ANY DISCLOSURE COPIES, DISTRIBUTION, OR ACTIONS IN RELIANCE ON THE CONTENTS
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        OF THIS E-MAIL IS PROHIBITED PLEASE PROMPTI.
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          ,- ran'\ . brenda.c@aretefinancialfreedom.com
        :::iuo,ec New Note Created On File: Angel R ivera - - 244214036

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             Dat., Mar 21, 2019 at 8:04:45 PM
                T1.. ' '        §)yahoo.com

         Note Type: Outbound Email
         Entered By: Brenda Castro



         **ARETE FINANCIAL FREEDOM IMPORTANT U PDATE REGARDING YOUR
         STUDENT LOANS** Important message waiting for you, please log on to
         www.StudentDebtPortal.com to access your Customer Portal and view under
         "Servicer Notes." Any questions or concerns, simply "Send a Request" & we
         will get back to you within 24 hours. If you need further assistance contact
         1 -888 331 5827.




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        make to us to manage your student loans for you. We will continue to monitor
        your student loans and let you know of any updates regarding your student
        loans. We ask that you also please do the same and forward any
        correspondence you receive regarding your student loans so that we can
        review it together.

        Thank you for choosing Arete Financial Freedom to assist you with your
        student loans.

        Best Regards,

        Processing Department

        SLProcessing@aretefinancialfreedom.com




                    pdl



                          ' '




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                     Attachment E
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         If you haven't already done so, you must notify us of potential billing errors in writing at the Customer Service
                                        " website address as shown on your billing statement. Please refer to the back
         address or electronically at the
                                                         "
         of your billing statement for further information on Your Billing Rights, including how the process works.




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                                              #:848


     Customer Name: ANGEL L RIVERA
     Account Number:            )668




     F
        Transaction Post Date                           Merchant Name                        Transaction Amount
             05/30/2019          [ARETE 888 331 5827                                                          $266.34
             05/01/2019           ARETE 888 331 5827                                                          $266.33
             03/29/2019           ARETE 888 331 5827                                                          $266.33

    Type of Dispute: Quality of Services or Product
    We understand that you are disputing the charge{s) shown above. Please complete the form and send it to
    us as soon as possible. Include any documentation you have that supports your dispute. This could include:
        • A second opinion from a similar merchant or industry expert detailing why service or merchandise
            was not authentic or poor quality. The second opinion should be written on company letterhead and
            signed and dated by the merchant or industry expert.
        • Documentation that supports the cost of replacing merchandise. if the merchant caused damage.
        • A copy of a sales receipt, invoice, contract or work order.
        • A communication {email, webchat. text, letter) between you and the merchant.

     What amount of the charge(s) are you disputing, due to the Quality of the product/services?
                                                                    0
     $�'-b . .$4 Z, � (, . ; ; .j) 2-',b
                 �            7
                                           .33        ---�19� · "
     When did you receive or expect to receive service or merchandise? (Date) _it wa.S � 0\.. M-�rc.,ho.,, J,�
     Describe in detail the problem with the product or services you received, or how the product or service
     differed from your expectations. For more space, please use the back of this form.
     The. C.�C\'l.'.) /hlk         Fu1'-\\<:.-l•.()    Frted.>v-.. protH ch.f v-- $i#V1 w_ 111 w�n (i\            Jl. �­
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      _JJ� tvtd � c� � 1,�e � J.. 1'f4-d �                                          ��cl  °fu{� �� � � ru_Jes�tt�� -::>
     Was only a portion of the merchandise or service received?         No            Yes _Ne.\- � "UR.��\cn
                                                                                                                  ad(_
                                                                                                                       dtOC
     If "Yes." what was the coot of the portion not received? $ �_Jo . .:.� ,_ )..
                                                                             t;
                                                                                                      bQ.l�        b
                                                                                                                    '.\
                                                                                                                          C,�       liStlL.
     Did you return or cancel merchandise or service?        No          Yes           MS\--   o-..    r-.Ue..W\d.t�
     If "Yes:· what date did you cancel or return merchandise or service? {Date)                          \
     Did the merchant accept the cancellation or return?       No
     If "Yes." what shipping method was used to return merchandise? (FedEx, U
                                                                             'fes
                                                                                      ✓ =1r
     Did you contact the merchant to resolve this issue?          No _         Yes
     If "Yes.» what was their response?

         � �-1!� k � � � �o lrts, �S � k                                                               � 1-Yl� �
     -�-��-'-                                   --                                                                        -
     Whal was the name a the person you spoke with and the dale of your conversation?
     Name: _i-�vlf\�            A cr�Jo viclo                                        Date:     �      �       c�S             0- f;"D
                                                                                                � b°-               CW"OUVl.�      uL

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            Please sign and date this form




            Sign&ure                             )·�                                            Date:          · �- I 5 -     l7

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            CLAIM ID: C 201 9061O-3756




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                       PX17
                   Declaration of
                  Joyce Robertson
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      1                         DECLARATION OF JOYCE ROBERTSON

      2
                                     Pursuant to 28 U.S.C. §1746
                                                                                    ORIGI AL
                 I, Joyce Robertson, hereby state that I have personal knowledge of the facts
      3
      4    set forth below and am competent to testify about them. If called as a witness, I

      5    could and would testify as follows:

      6          1.     I am over the age of 18 and reside in Portland, Oregon. I work full-
      7    time as a dietician at a Portland-area care facility. I attended college at Heald
      8    College and Portland State University. I currently have approximately $87,000 in
      9    student loan debt.
      10         2.     My student loan debt has grown despite my efforts to pay it off. I
      11 have never been able to work in my degree field of public health and medical
      12 office administration. My loans were in forbearance for several years while I
      13 struggled to find employment at a living wage or salary. For these reasons, I was
      14 very interested in an unsolicited telephone call that I received in December 2017.
      15         3.     On or about December 18, 2017, I received a telephone call from a
      16 woman who said that her name was Darla Telles. Ms. Telles said that her
      17 company, Arete Financial Freedom ("Arete"), was affiliated with the Department
      18 of Education ("DOE"). She said that Arete had DOE approval to help me find
      19   relief from some of my student loan debt. At that time, my student loan debt
      20 totaled about $60,000. Ms. Telles told me that Arete could help me obtain loan
      21   forgiveness so that I would only be required to pay $20,000 of the then-$60,000
      22 loan amount. Ms. Telles asked me several questions. She asked where I worked
      23   and my income. She asked about my monthly expenses, how many people I
      24 supported financially, and how many people in my household were employed. She
      25   also requested copies of my Social Security card and my last two pay stubs. Early
      26 in the conversation, she said that some part of the conversation would be recorded.
      27
      28
           Joyce Robertson Declaration, p. 1 of 5




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      1          4.    Initially, Ms. Telles told me that the cost of their program was $699,
      2    which I could pay in three (3) monthly installments of $233, followed by 36
      3    monthly payments of $49. I advised Ms. Telles that there was no way that I could
      4    afford that much money upfront. She then agreed to reduce the initial
      5    downpayment to $150, followed by 36 monthly payments of $49, that would be
      6    applied to my student loan debt. Attachment A includes a true and correct copy
      7    of my handwritten notes taken at the time of my conversation with Ms. Telles.
      8    According to Ms. Telles, after I completed the 36 months of $49 payments, DOE
      9    would forgive the balance of my student loans. Ms. Telles asked for a debit or
      10 credit card number for these payments. Because I believed Ms. Telles's
      11 representations that if I paid the $150 downpayment followed by the 36 payments
      12 of $49, DOE would forgive the remaining balance of my student loan debt, I
      13   agreed to sign on with Arete. I provided Ms. Telles with my payment card number
      14   information. Ms. Telles emailed me her contact information. A true and correct
      15   printout of that email is appended as Attachment B.
      16         5.    On December 18, 2017, Ms. Telles emailed me a multi-page
      17 document that contained a Service Agreement, a Privacy Policy, a Limited Scope
      18   Power of Attorney, a Request for Tax Return Transcript, two DOE forms including
      19   a Certification of Identity & Authorization to Disclose Personal Information, and a
      20   General Forbearance Request, as well as a Preparation Service Agreement, Student
      21   Loan Consolidation Payment Plan Estimate, credit card authorization form, and a
      22   Custodial Account Agreement and Payment Schedule. Ms. Telles told me to
      23 review the documents and e-sign them. I printed the documents, reviewed them,
      24 and then e-signed them. I did not read them carefully. Rather, I relied on the
      25   claims that Ms. Telles made to me by telephone. True and correct copies of these
      26 documents are included as Attachment C.
      27
      28
           Joyce Robertson Declaration, p. 2 of 5




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      1          6.     Later that day, I received additional documents from Arete, including
      2    "customer login" information for the company's customer portal, a document titled
      3    "7 Things your Current Loan Servicer Fails to tell You," a "Borrower Eligibility
      4    Confirmation," and a document describing "How Your Application is Processed."
      5    True and correct copies of these documents are appended as Attachment D.
      6          7.     Ms. Telles also told me that Arete needed copies of my paycheck
      7    stubs or W-2s to verify my income, and she gave me a telephone number to reach
      8    her. Ms. Telles also gave me login credentials to access their customer portal. My
      9    handwritten notes taken at the time of this call are included at Att. D, p. 1. On
     10    December 20, 2017, at Ms. Telles' request, I faxed Ms. Telles copies of my check
     11 stubs to verify my income.
     12          8.     After I signed the Arete documents, the company began taking the
     13 scheduled payments from my account. Based on what Ms. Telles told me during
     14    our December 2017 call, I assumed that Arete was taking care of my student loans.
     15    I believe that they did consolidate the two loans with Navient and into one loan
     16 with FedLoan Servicing. On occasion, I tried to login to my Federal Student Loan
     17    account, but I was locked out and none of the answers that I provided to my
      18   security questions worked so I was unable to reset my password.
     19          9.     On March 4, 2019, I received an email from a Diana Younis at Arete,
      20 whom I had never spoken with before, advising that I was approved for a "Revised
      21   Pay As You Earn Repayment Plan" and that my new monthly payment was
      22   $11.28. A true and correct copy of this email is attached as Attachment E.
      23         10.    Coincidentally, I called the company on March 4, 2019, while
      24   preparing my federal income tax return. I wanted to obtain copies of the records of
      25   my student loan payments in connection with preparing my 2018 federal tax return.
      26 I spoke first with a man who transferred my call to a voicemail box and I left a
      27 message. Then a woman whose name I cannot remember called me and told me
      28
           Joyce Robertson Declaration, p. 3 of 5




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      1    that she was now my contact and that Ms. Telles no longer worked there. I
      2    explained that I needed information regarding my student loan payments for my
      3    taxes. She told me that Arete did not have records of my student loan payments
      4    and that I needed to contact the Department of Education.
      5          11.   After speaking with this woman at Arete, I called Federal Student Aid
      6    ("FSA") and explained that I wanted a copy of the statement showing my loan
      7    payments for 2018. The person to whom I spoke, a man whose name I do not
      8    recall, said that I had not made any payments on my student loan in 2018. I
      9    explained that I had been making my student loan payments through Arete since
      10   January 2018, and that they had told me that my loan payments were $49 monthly.
      11 The FSA representative told me that Arete had not made any payments on my
      12 student loans. He said that my account was in a hardship deferment. He also told
      13 me that Arete had accessed my student loan account and changed my password and
      14   security questions and that was why I was unable to access my student loan debt
      15   account. The FSA representative suggested that I had been deceived. He then
      16 helped me get into an income driven repayment program and I now am making
      17   small monthly payments on my student loan.
      18         12.   On March 25, 2019, I received an email from Arete with the signature
      19 "Billing Department" from the email address billing@aretefinancialfreedom.com,
      20 advising me that my "student loan application payment" was declined. I responded
      21 to this email explaining that due to financial issues, my loan was in forbearance
      22 and I would not be able to make a payment until June. This was an effort to advise
      23 the company that I was not going to pay them. I was not using the word
      24 "forbearance" literally. I received a response from billing@aretefinancialfreedom
      25   that same day, indicating: "What comes next is the MSF- Monthly Service Fee[.]
      26 MSF-$49 this is separate from your student loan payment. The monthly service
      27 fee goes directly to Arete financial. These payments is [sic] for us to service and
      28
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                                            FFEL STAFFO RD SUB S I DI ZED                                                                                                                                                                                                                          $0 .00
                                          FFEL STAFFORD UNS U B S I D IZED                                                                                                                                                                                                                            $0 .00
                                          FFEL STAFFORD UNSUBSI D IZED                                                                                                                                                                                                                           $7 ,22 7 . 00
                                            F F E L. STAFFORD S U B S I DI ZE D                                                                                                                                                                                                                  $5 , 87 3 . 00
                                          F F E L STAFFORD UNSUBSIDIZED                                                                                                                                                                                                                          $7, 506 . 00
                                            FFEL STAFFORD S U B SIDIZE D                                                                                                                                                                                                                         $4, 56 3 . 00
                                                                                                                                                                                                                                                                                                 $84,61 4.00



              A pp roved Prog ram : Income Based Repaym ent ( I B R )

               P rog ra m Maturity Savings: $82, 749.00
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               The William D. Forcf Direct Loan program is an initiative by the federal government to help subsidize the 1 . 2 trillion dollar
               student loan debt in the U S Borrowers under these income based programs significantly reduce their payments and
               eventually even reach possible forgiveness based off of eligibility requirements.
               t.=.   :" _ . :;_ ... -          ;-            -        _. .... • .           .    . ...       .. .. . ...        . .. : - -· ---.. ·                 • .. .             -     --·   .. .•   .• .       . . ... _ ,. ..       ..       • ... _ . .           . .. .      .   ..      _ .                .           -

               The process from beg i n n i ng to end takes approximately 2 1 45 d ays.

               r n o rder to stay cornpi!ant in your program you m ust mai nta i n the fol l ow\ng:

                           • S u bmit required i nco m e docu m e ntatio n to pro cessi n g wi thin 5 busi ness days of en roi!ment.
                             S e n d u pdated docum e nts to the processi n g d e pa rtme nt in a ti m ely m a n ner ( i e . , paystu bs, tax returns, pa perwork
                             corres ponde nce, l e nder corres ponden c e, etc . . . ).

                           • Mai nta i n program manage m e nt costs and m o nthly pay m e nts

                                                                                                                                                        C ustom e r Service Depa rtment

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            Welcome Joyce Roberts o n to Arete F inanc ial F reedom 1 54659038
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               He!!o Joyce,

               Thark you for cho osing An:;te Fharcial Freedom . 1he chosen lead r in St' ident Loan Pt ocessing We 1� ould li ke to welcome you to
               the Student Loan Consoli<Ja t1on Pro9ram Th;s 1s a time for you lo rejoice a nd we are excited for the opportuni! y to assist you
               throughout the conso!idatio0. prncess Beca use quality service ,s im r,ota nt tc our c!Jents, we tal<.c:· every effm'. to rm:? ke modest
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               Conqratu1ati :>ns en choos;ng Loon Consolida ticn l 1 see that you're co .solida! ing 1cur federal student loans and saving up to 801/r, on
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               a: {888) 988 -9274




                                                             H ow You r A pplication ls P rocessed

                 V\:1,en a borrowHr co. 1soiidafes loans in the Direct Consolidation Loan Program. the Federal Government pay.s
                 off the loan balance on the original federal education loans and originates a new loan for the total. Here's flow
                                                      that works from a horwwer's point of vietAl

                                     It takes five simple steps to proc ess your application after we receive it.

               Step 1 . A pp lication Review: After we receive your fully completed application, it 1s edited, assigned .::.n
               application identification number, ente red into our system, and the process begins. We will contact you if
               Lldd!tional information is needed.

               Step 2. Contact Loan Holder(s): Using the loan information from your application, we contact your loan
               holder(s) to verif the loan's eligibil!ty for consotidation and its current loan balances (including accrued interest
               fees, or coilectlon costs) . If you cu rrently are required to rnake payments on your loan(s) . continue to do so . You
               wi ll need to continue making payments until you receive 1Nritten notification that your loan (s) h as been
               successfully consolidated a nd it is ti me to start paying y ou r Direct Consolidation Loan .

               Step 3. Loan Statement : After your loan holder(s) certifies the "payoff' balance(s), we will send you a letter and
               loan statement listing the loan(s) being consolidated You h ave 15 days to review this information for accuracy
               a nd to rnake adjustr 1ents

               Ste p 4. Account Set-Up: We forward payoff information to your federal loan servicer once your loan(s) is
               s uccessfully consolidated . Your federal loa n seNi cer sends you a ''Welcome" letter and information about
               repayment

               This multi step process generally takes 60- 90 days before the infonnation is sent to the federal loan servicer.
               You will receive a bill within 60 days of your federal loan servicer receiving your account infor mation .




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  Gnmil - \Welcome Joyce Robertson to Arete Financial Freedom 1 5 . . .                         https://mail.googlc.corn/mail/u/0?ik=d224c4cffJ&view= pt&search .



              We s i nce rely a ppreci ate y o u r busi n ess, and wel c o m e your feedback!




               P rocessin g Department

               Direct I (888) 331 -5827

               Fax I (888) 366-221 9

                 Hours r f Operation : 9AM-5PM Pacific Standard Tim1:1
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                         Gmail                                                                                      Joyce Robertson <                                 . . @gmail.com>



             Re: Student Loans . . . You r Income Drive n Re pay ment Was A pproved !
             1 message
                                                                                                                    ------··-··-- --- . �
             Diana You nis <diam, younis@aretefina ncialfreedomcorn>                                                                               Mon , Mar 4, 201 9 at 9 55 AM
             To:               @gr riai l corn




                      Arete                   =· · ::: ,�-.                                                -   ')




               l'/iar 04 . 20 1 9

               NEW STUDENT LOAN REPAYMENT TERMS

               Con9mtuiations Joyce !

               Your a pplication vvas comp!0ted and you wer1:3 approved or the student loa n Revised Pay A s You Ea rn
               Repayment pla n . Based of your Adjusted Gross ! n corne on your submitted incorne documents, the lowest
               student loan payment a rnount we were a ble to obta:,n for you \Vas $1 1 .28 towards your foan
               servi cer fl;.91-:9�fJ_, which will be due every 1 8th of each month.

                *" " Please notify us if yo ur income has sig nifica ntly changed from the amount on you r previously submitted
                i ncorne documents . If you have your rnost r ecent Tax Returns or current pay stubs that reflect a lovver a n nual
                y 1 os� 1 1 1 wme l you Gan send those i n a PDF ro rmat so we may attempt to recalculate you r pay ment amount.

                For further assista nce 1 you can cont8ct our customer service departrnPnt at 1 k888-3 31 -582Z . Our hours of
                o peration are from Monday to F ridBy 8P..M 5 PM (PST) We are here to assist yot� and make sure that you stay
                on track to fo1 g1ven Hss.

                Thank yo u for choosing A n�te F ina ncial Freedom to assist you with your federal student loans!



                Processing Department

                Toll F ree I (888) 33 1 -5827

                Hours o Operatio n : 8AM-5PM Pacific Standard Time
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                 ..d,JI :·iO� .e l' D SCLC'SU,�':: 1 :: YOJ A.P[ !\'J-,- 7\ i[ lf\lT[:.f'lDED RFCi::,lf:,'.T Al•:'✓ l } 'Cl OSLRr, COP ES, LIS,? '-ILT :0 1'), 0� ACn ; ,si5 t\ qf:_IJ\\K:'i:
                (,,/•,: HE ,:-;o;,,r N'7 S or HHS E-'-MA , iS PRO:l fr' �r: Pl ::MiE: P WfAJ LY f,.QTF Y s::::i-DER F 'IOU !,"I V:: RECUVED TH!S [- t��Ah. N ER�OR A.f,.C)
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                c1s;�, OSv'RE, (" �'00 AF.'!:: N:)T T ·T rrrt-:'lfT) C.--� [:'::lf'.:lf.Nl ANY CISCLCS,J,: G(.Y'IES DiST�HJlnO ,1, OR AC K :r....,c;; ;N Ri::L 'A\Cl ()',) 1H�
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                t: RcM "'OUR E M/ 1_::,
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  Gmail � Cancellation Confinnation For Jo) cc Robensc:H1 � ti 1 546 5 9038                             lu tps://mail googlc co1n/mail/w'0?1k=d22-lc..Jeff3&vievr·-.:pt& .arch. .




                        G 11ail                                                                             Joyce Robertson                                       @g maH.com>



            C a ncel lation Confirmation For Joyce Robertson - # 1 54659038
             1 rnessa9e
                                                                                         ----------------- --
            Bi lli ng Dept < b1lli ng@aretefina nciaffreedom.corn>                                                                          Tue , Mar 26, 201 9 at 2·27 PM
            To :                    @gmail.com




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                                                                                   - - ' _, -



               Dear Joyce,

               Thank you for co nsidering us to service you r Direct Consolidation Loan! We are sorry to see yo u go!

               We received your CANCELLATI ON REQUEST and have processed your cancel:ation .

               What Happens Ne xt?
               We will no long er be communicating with your current service rs to verify any of yow foan details. We wit! dlspose
               of any correspondence we receive on your behalf to consolidate your loans , we will no longer be responsible for
               any verification on your beha!f rogardless of the stage you r application is currently in at the tirne of cancellation .

                 •   All a nd any Loans I ncluded i n your consolidation
                 •   Loans removed , or not included, m your consoHdation
                 o   Consolidation Loan balance
                 •   Updated Repayment Pla n payments and yearly verification

               I M PORTA NT: W2 will cease any collection of re maining balance owed of the inltiai emollrnenl fee. The a mount
               owed under legal contract will no longer be considerd due. No further coHection effort will be made and no
               r1egaUv f1 reporting wil l be furnished to the 3 credit bure aus.

               I f you would like to re instate your consolidati o n or application , it is irnportanl that you cortact us l MMEDiATELY
               at {88S) 331 -5827 .

               I f you h ave any questions about the mail you receive or about the process, pfease contact




               P rocess ing Department

               Toll Free I (888) 331 58'27

                Hours uf Operation : 8AM-5 ? �.-, P1ciflc Standard Time
                ir f JGI-\J . t , nd :- :i:: lf i:-sc ·· ·1� c,J ,�
                , .. .. ,. · et i;rc1.-ic'.. f1 :: :.; c , n . con·




                THTS f MA11 MAY CONTAJlll N()N•·t Unt JC, CONFID ENT LAL fNK)RMATION, r>fUVJLEGfO OR OTT\[>IW fSf l.fCM LY PRTr[CTED FWM U '!\HTHORIZEO
                DISCLOSURE, '[!= YOlJ ARE NOT wr f�ITFNDEO R_ CiPIFN T , ANY lllSCLOSuRE, CO?Jf:,, fffffR IJ3U TTON, (1R ;'\(TJJNS lfl R.EUANCE' ON Tiff CCt>fFN fS CF
                l H.1$ f 1'"6,11., ]!'.; PROHIErrto Plf.ASF PROMPTlY N01 ! Y SE D tR if YGU HA\/( q [( fTv'fO T iis r-M,\Il IN 2.RROR AND DELE II:. IT FRC!M Y�)l:R l··!"l.r\ll s



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  Gmr. il C jlnccllation Confinnation For Joy ce Robe1tson - # 1 5465903 8                        https://maiL goo gle.corn/mail/u/0?i.k=d2Nc-kff3&view=pt&search . .



              C O NFIDENTIAL INFOR MATIO N , P R N1LEGED OR OTHE R W IS E LEGALLY P R OTECTED FRO M U NAUTHORIZED D l':iC LOSiJ R E lF YO U ARE NOT THE INTEN DED
              RECIPJENT, ANY D IS C LOSURE, COPIES, DlSTRIBUTION, O R ACTIONS IN R ELIANCE ON THE CONTENTS OF THJS E MAil_ IS P RO HIBITE D . PLEASE P R OMPTLY
               N OTIFY SEN D ER IF YOU HAVE R E C EIVED THIS E MAIL IN E R R O R AND D EL ETE IT FROM YOU R E-MAI S .




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